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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                  Criminal No.18¨

                V.


EUGENE      ⅣIch/1ANUS,                                   VIOLATION:
                                                          18 UoS.C。 §1001
                          Defendant.                      (Making a False Statement)

                                             INFORMATION

         The United States Attomey charges:

                                               COUNT ONE
                                         (Making a False Statement)

    l.   At alltimes material to this Information, defendant EUGENE McMANUS

("McMANUS")          was employed as a Special Agent of the United States Office of Personnel

Management ("OPM"), an agency within the executive branch of the federal govemment and

headquartered in Washington,      D.C. He was assigned to the National Background Investigations

Bureau ("NBIB"), formerly known as Federal Investigative Services ("FIS"), where his job was

to conduct background investigations.

   2.    On or about November I 3,2017, in the District of Columbia and elsewhere, defendant

McMAllUS, in a matter within       the   jurisdiction of the executive branch of the government of the

United States, did knowingly and willfully make a materially false, fictitious, and fraudulent

statement and representation, in that in a Report of Investigation of a background investigation    of
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KN,dcfcndant Mc■ 41ANUS rcprcsentcd that hc had inteⅣ icwcd S N about K N,whcn,in truth

and in fact,dcfcndant McMANUS had notintcwicwcd S N,who isthc spOusc Of K N,about

KN

     (Making a False Statement in Violation of Title 18,United Stat∝   Code,Section 1001)

                                                   JESSIE K LIU
                                                   United Statcs Attomcy for thc
                                                   District of Columbia




                                                       C00NEY


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